
213 A.2d 447 (1965)
Arthur J. L. HUTCHINSON, Plaintiff-Appellant,
v.
The FISH ENGINEERING CORPORATION, a Delaware corporation, and Pacific Northwest Pipeline Corporation, a Delaware corporation, Defendants-Appellees.
Supreme Court of Delaware.
September 14, 1965.
Howard M. Handelman, of Bayard, Brill, Russell &amp; Handelman, Wilmington, and Leonard J. Meyberg, C. Thomas Fizzolio and Carl Q. Christol, Los Angeles, Cal., for plaintiff below, appellant.
Arthur G. Connolly and Januar D. Bove, Jr., of Connolly, Bove &amp; Lodge, Wilmington, and Robert F. Campbell, of Andrews, Kurth, Campbell &amp; Jones, Houston, Tex., for Fish Engineering Corp., cross-appellant.
John Van Brunt, of Killoran &amp; Van Brunt, Wilmington, for Pacific Northwest Pipeline Corp., defendant below, appellee.
*448 WOLCOTT, Chief Justice, and CAREY and HERRMANN, JJ., sitting.
PER CURIAM.
The plaintiff appeals from the judgment of the Court of Chancery of New Castle County resolving the rights of the parties in certain patents. The defendant The Fish Engineering Corporation appeals from an order denying its petition for allowance of attorneys' fees and disbursements.
The controversy regarding the patent rights was fully tried below. The Chancellor's findings of fact and conclusions of law are set forth at length at 203 A.2d 53-63.[1]
After examination of the record, we have concluded that there is sufficient evidence to support the Chancellor's factual findings. See Nardo v. Nardo, Del., 209 A. 2d 905, 911-912 (1965). We are also of the opinion that the Chancellor's conclusions and the reasons therefor are correctly and adequately stated.
As to the petition for fees and disbursements, the Chancellor's opinion appears at 204 A.2d 752. The reasons given justify, we think, the result reached. We find no abuse of discretion in the trial court's action.
The motion to dismiss the appeal is denied and the judgment below is affirmed.
NOTES
[1]  Other opinions in this litigation appear at 153 A.2d 594, appeal dismissed 162 A.2d 722; and 189 A.2d 664.

